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 8                              IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11

12   UNITED STATES OF AMERICA,

13                 Plaintiff,                          CR. S-09-0533 FCD

14          vs.                                        ORDER FOR RELEASE OF PERSON IN
                                                       CUSTODY
15   BRITTNEY MONIQUE BEACHAM,
16                 Defendant.
                                               /
17
     TO:    UNITED STATES MARSHAL:
18

19          This is to authorize and direct you to release BRITTNEY MONIQUE BEACHAM, Case

20   No. CR. S-09-0533 FCD, Charge 18 U.S.C. § 4 - Misprison of a Felony, from custody subject to

21   the conditions as stated in open Court on November 1, 2010:

22                 Release on Personal Recognizance

23                 Bail Posted in the Sum of $ [ ]

24                         Unsecured Appearance Bond

25                         Appearance Bond with 10% Deposit

26
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 1                             Appearance Bond with Surety

 2                             Corporate Surety Bail Bond

 3                      X      (Other) [Defendant sentenced to TIME SERVED - Judgment and
 4                             Commitment to be issued].
 5
     Issued at Sacramento, CA on November 1, 2010 at 11:15 a.m.
 6

 7   Dated: November 1, 2010

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                                              _______________________________________
 9                                            FRANK C. DAMRELL, JR.
                                              UNITED STATES DISTRICT JUDGE
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26   BECHAM, BRITTANY release order.wpd            2
